                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


 NORMA SPRINGER,

         Plaintiff,                                  Case No. 3:20-cv-00202

 v.                                                  Chief Judge Waverly D. Crenshaw, Jr.
                                                     Magistrate Judge Alistair E. Newbern
 METROPOLITAN GOVERNMENT OF
 NASHVILLE & DAVIDSON COUNTY
 acting by and through THE ELECTRIC
 POWERBOARD of said GOVERNMENT
 d/b/a NASHVILLE ELECTRIC SERVICE,

         Defendant.


                                                  ORDER

        The Magistrate Judge held a telephone conference with counsel for the parties on

November 9, 2021. By January 14, 2022, counsel will have engaged in private mediation and filed

a joint status report reflecting their efforts.

        It is so ORDERED.



                                                       ____________________________________
                                                       ALISTAIR E. NEWBERN
                                                       United States Magistrate Judge




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